                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                     CIVIL ACTION NO. 3:20-CR-165-MOC-DCK

 UNITED STATES OF AMERICA,                             )
                                                       )
                Plaintiff,                             )
                                                       )
    v.                                                 )        ORDER
                                                       )
 KORI MONSANTO,                                        )
                                                       )
                Defendant.                             )
                                                       )

         THIS MATTER IS BEFORE THE COURT on Plaintiff’s “Motion To Amend Order To

Correct Clerical Error” (Document No. 18) filed September 30, 2020. Having carefully considered

the motion, the record, and applicable authority, the undersigned will grant the motion.

         IT IS, THEREFORE, ORDERED that Plaintiff’s “Motion To Amend Order To Correct

Clerical Error” (Document No. 18) is GRANTED, and the Consent Order and Judgment of

Forfeiture (Document No. 17) is amended to state:

         One Glock, Model 26, 9mm semi-automatic pistol, serial number MKE133, a
         magazine and ammunition, seized on or about March 25, 2020 during the
         investigation.

         SO ORDERED.


                                          Signed: October 1, 2020




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